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4                  NORTHERN DISTRICT COURT OF THE STATE OF OHIO
5                              FOR THE COUNTY OF CUYAHOGA
6
     CHARLES D. NEWTON                          Case No.: 1:24CV00027
7
                       Plaintiff
8
     vs.                                        Judge: HON J. PHILIP CALABRESE
9

10   KIMBERLY KARDASHIAN ET AL.
                                                MAGISTRATE JUDGE JENNIFER
11                   Defendants                 DOWDELL-ARMSTRONG
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15
                          MOTION FOR PLAINTIFF'S REQUEST FOR

16                           INITIAL CASE MANAGEMENT DATE

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              MOTION FOR PLAINTIFF’S REQUEST FOR INITIAL CASE MANAGEMENT DATE - 1
          Case: 1:24-cv-00027-JPC Doc #: 73 Filed: 09/10/24 2 of 5. PageID #: 1205



1           Pursuant to Rule 26(f), the Court is requested to set an INITIAL CASE MANAGEMENT
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     date by Zoom on September 30, 2024, at 11:00 am, Eastern Standard Time.
3
            The plaintiff/litigator has initiated disclosures with the counselors for the defendants
4
     pursuant to FRCP 26: Duty to Disclose. (See Exhibits herein)
5

6           A “Zoom Discovery Conference” is scheduled for September 21, 2024, at 11:00 am EST.

7           •    Plaintiff’s draft PRELIMINARY Rule 26(f) Report of Parties submitted to counselors
8
            •    A “Rule 26 Duty to Disclose Document” with third-party witnesses/deponents
9
                 submitted to counselors
10

11          •    An initial “Disclosure Table List” submitted to counselors.

12          •    A link and chart: GOOGLE DRIVE OF ESI: Newton v Kardashian et al.
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14
            The Court’s gracious response to this requested motion will greatly facilitate advancing
15
            toward depositions of third-party witnesses. All in the interest of speedy justice.
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                MOTION FOR PLAINTIFF’S REQUEST FOR INITIAL CASE MANAGEMENT DATE - 2
     Case: 1:24-cv-00027-JPC Doc #: 73 Filed: 09/10/24 3 of 5. PageID #: 1206



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                                     EXHIBIT A
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                               Initial Disclosures Table
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        MOTION FOR PLAINTIFF’S REQUEST FOR INITIAL CASE MANAGEMENT DATE - 3
     Case: 1:24-cv-00027-JPC Doc #: 73 Filed: 09/10/24 4 of 5. PageID #: 1207



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                                      EXHIBIT B
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27                 Electronically Stored Information via Google Drive

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        MOTION FOR PLAINTIFF’S REQUEST FOR INITIAL CASE MANAGEMENT DATE - 4
         Case: 1:24-cv-00027-JPC Doc #: 73 Filed: 09/10/24 5 of 5. PageID #: 1208



1    September 10, 2024
     ____________________                       _________________________
     DATE                                       Respectfully submitted,
2
                                                Charles D. Newton
3                                               Plaintiff/Litigator/Pro Se

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            MOTION FOR PLAINTIFF’S REQUEST FOR INITIAL CASE MANAGEMENT DATE - 5
